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Invoice No.: 1868695 Page 5
Matter No.: 083230.012700
Description of Professional Services Rendered
ACTION CODE: 833 COURT HEARINGS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
09/28/06 Franklin C. Austin Attend hearing as designated local counsel 4.30 . 1,354.50
pending approval of Verified Petition
submitted on behalf of Attorney Nancy A.
Peterman
09/28/06 Nancy A. Peterman Prepare for and attend court hearing (4.3); 8.00 4,360.00
meet with client to prepare for same
hearing (2.0); meet with Debtors’ counsel to
prepare for same hearing (1.7).
Total Hours: 12.30
Total Amount: $ 5,714.50
TIMEKEEPER SUMMARY FOR ACTION CODE 833,
COURT HEARINGS
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 8.00 545.00 4,360.00
Franklin C. Austin 4.30 315.00 1,354.50
Totals: 12.30 464.59 $ 5,714.50
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Invoice No.: 1868695 Page 6
Matter No.: 083230.012700
Description of Professional Services Rendered
ACTION CODE: 922 TRAVEL
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
09/27/06 Nancy A. Peterman Travel to Las Vegas. 4.00 2,180.00
09/28/06 Nancy A. Peterman Travel to Chicago. 4.00 2,180.00
Total Hours: 8.00
Total Amount: $ 4,360.00
TIMEKEEPER SUMMARY FOR ACTION CODE 922,
TRAVEL

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 8.00 545.00 4,360.00

Totals: 8.00 545.00 $ 4,360.00
Case 06-10725-gwz

Invoice No.: 1868695
Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

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Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 34.90 545.00 19,020.50
Franklin C. Austin 4.80 315.00 1,512.00
Collin B. Williams 17.10 285.00 4,873.50
Kerry E. Carlson 5.70 190.00 1,083.00
Yolanda Powell 4.10 175.00 717.50

Totals: 66.60 408.51 $ 27,206.50
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Invoice No.:

Re:

Matter No.:

1868695
USA Commercial Mortgage Company
083230.012700

Description of Expenses Billed:

DATE

09/25/06
09/25/06
09/25/06
09/27/06

DESCRIPTION

Telephone; 7022287590 from Ext. 5108 LAS VEGAS NV
Telephone; 7022287590 from Ext. 5108 LAS VEGAS NV
Telephone; 7022287590 from Ext. 5108 LAS VEGAS NV

VENDOR: U.S. District Court Clerk's Office; DATE: 9/27/2006 - Filing
fee

Total Expenses:

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AFA HA fF

Page 8

AMOUNT

0.32
0.24
0.16
175.00

175.72
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Invoice No.: 1868792 Page 1
Matter No.: 083230.012700

Description of Professional Services Rendered:

ACTION CODE: 804 CASE ADMINISTRATION
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
10/02/06 Yolanda Powell Reviewed email from N. Peterman (.1); 0.30 52.50

update attorney calendars with new
termination date (.2).
10/18/06 George R. Warner Conference with N. Peterman, K. Shapiro, 1.80 1,314.00
D. Badley and E. Ostrow re theories of case
(1.0); consider theories and review and
comment on emails re strategy (.8).
10/20/06 George R. Warner Conference with Nancy Peterman, Keith 1.00 730.00
Shapiro, David Badley and Ethan Ostrow
re theories of case and strategy.

10/23/06 — Kerry E. Carlson Update docket and pleadings. 0.30 57.00
10/24/06 ~— Kerry E. Carlson Update docket and pleadings. 0.30 57.00
10/25/06 ~— David W. Baddley Meeting with client, K. Shapiro and N. 0.60 258.00
Peterman re: strategy.
10/25/06 Kerry E. Carlson Update docket and pleadings. 0.30 57.00
10/25/06 — Kerry E. Carlson Review Trustee's motion to convert and 0.20 38.00
forward to N. Peterman.
10/25/06 ~=Nancy A. Peterman Review motion to convert. 0.50 272.50
10/26/06 Kerry E. Carlson Update docket and pleadings. 0.30 57.00
10/27/06 Kerry E. Carlson Update docket and pleadings. 0.30 57.00
10/30/06 Kerry E. Carlson Update docket and recent pleadings. 0.30 57.00
10/31/06 _— Kerry E. Carlson Update docket and recently filed pleadings. 0.30 57.00
10/31/06 Nancy A. Peterman Telephone conference with J. Atkinson re 1.20 654.00

case (.5); telephone conference with D.
Baddley re same (.5); review recent

pleadings (.2).
Total Hours: 7.70
Total Amount: $ 3,718.00
TIMEKEEPER SUMMARY FOR ACTION CODE 804,
CASE ADMINISTRATION

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 1.70 545.00 926.50
David W. Baddley 0.60 430.00 258.00
George R. Warner 2.80 730.00 2,044.00
Kerry E. Carlson 2.30 190.00 437.00
Yolanda Powell 0.30 175.00 52.50

Totals: 7.70 482.86 $ 3,718.00
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Invoice No.: 1868792 Page 2
Matter No.: 083230.012700
Description of Professional Services Rendered
ACTION CODE: 809 FINANCING MATTERS & CASH COLL
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
10/06/06 Yolanda Powell Reviewed and obtained Motion For Order 0.50 87.50
Approving Continued Use of Cash Through
January 31, 2007 Pursuant To Fourth
Revised Budget and Notice of Motion (.4);
forwarded same to N. Peterman (.1).
Total Hours: 0.50
Total Amount: $ 87.50
TIMEKEEPER SUMMARY FOR ACTION CODE 809
FINANCING MATTERS & CASH COLL
Timekeeper Name Hours Billed Rate Total $ Amount
Yolanda Powell 0.50 175.00 87.50
Totals: 0.50 175.00 3 87.50
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868792
083230.012700

Description of Professional Services Rendered

ACTION CODE: 812
DATE TIMEKEEPER
10/04/06 Nancy A. Peterman
10/05/06 ~=Nancy A. Peterman
10/09/06 David W. Baddley
10/09/06 =Nancy A. Peterman
10/09/06 Nancy A. Peterman
10/09/06 Yolanda Powell
10/12/06 David W. Baddley
10/13/06 David W. Baddley
10/16/06 David W. Baddley
10/17/06 David W. Baddley
10/17/06 David W. Baddley
10/18/06 Kerry E. Carlson
10/18/06 —_ Ethan F. Ostrow
10/19/06 David W. Baddley
10/19/06 Ethan F. Ostrow
10/20/06 David W. Baddley

PLAN & DISCLOSURE STATEMENT

DESCRIPTION

Review and analysis of plan and disclosure
statement re pre-paid interest issue.
Conference with D. Baddley re prepaid
interest issue and analysis of same.

Began research on property of the estate
issues.

Conference with D. Baddley re prepaid
interest research.

Conference with D. Baddley re prepaid
interest research.

Reseached cases for D. Baddley relating to
property of estates issues.

Additional research re: property of the
estate issues.

Review plan and disclosure statement
discussion on prepaid interest.

Obtain and review certain motions/court
papers dealing with prepaid interest.
Strategy conference with N. Peterman and
R. Warner re: property of the estate issues.
Phone call with S. Strong re: background to
pre-paid interest (.3); draft follow-up
correspondence re: same and outlining
legal issues (1.0);
correspondence/conference with N.
Peterman re: same (.3); correspondence
with R. Warner re same (.3).

Research section 541 briefs (.4); forward
relevant information to N. Peterman and D.
Baddley (.1).

Researched resulting and constructive trusts
under Nevada and federal bankruptcy law
(4.4); prepared for and participated in
conference call with Nancy Peterman,
Keith Shapiro, Ray Warner, and David
Baddley re same (1.0).

Research cases re: trust exception to
property of the estate.

Drafted memo on resulting and constructive
trusts under Nevada and bankruptcy law
(2.0); conferred with David Baddley on
research requirements and trustee "strong-
arm" powers (.2).

Prepare for and attend strategy conference
with N. Peterman, R. Warner, K. Shapiro
and E. Ostrow re: status of legal analysis re

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Page 3
HOURS AMOUNT
0.60 327.00
0.20 109.00
1.50 645.00
0.20 109.00
0.20 109.00
0.70 122.50
3.50 1,505.00
0.70 301.00
1.20 516.00
0.80 344.00
1.90 817.00
0.50 95.00
5.40 1,215.00
3.50 1,505.00
2.20 495.00
1.50 645.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868792
083230.012700

Description of Professional Services Rendered

10/20/06

10/20/06

10/20/06

10/20/06

10/23/06

10/23/06

10/23/06

10/24/06

10/26/06

10/27/06

10/27/06

10/28/06

10/28/06

10/28/06

10/29/06

10/29/06
10/30/06

10/30/06

10/31/06

David W. Baddley

David W. Baddley

Ethan F. Ostrow

Ethan F. Ostrow

David W. Baddley

David W. Baddley

Ethan F. Ostrow

David W. Baddley
Nancy A. Peterman
David W. Baddley
Nancy A. Peterman
David W. Baddley
David W. Baddley

David W. Baddley

David W. Baddley

Nancy A. Peterman
David W. Baddley

David W. Baddley

David W. Baddley

property of estate.

Research Nevada statutes and regulations
governing mortgage brokers.

Began work on drafting memo analyzing
whether excess funds and withheld funds
are property of the estate.

Participated in conference call with Nancy
Peterman, Keith Shapiro, Ray Warner, and
David Baddley re property of estate memo
(1.0); discussed memo with David Baddley
(.3).

Researched interaction of Sections
544(a)(1) and 541(d) of the Bankruptcy
Code and the rights of lien creditors under
Nevada law.

Phone call with J. Atkinson re: background
facts re property of estate.

Continued work on analysis memo of
property of estate (4.0); miscellaneous
research on related legal issues (2.2).
Revised memo on trustee's strong arm
powers law (2.0); conferred with David
Baddley (.3).

Finished work on draft legal memo on
property of the estate issues.

Telephone conference with S. Strong re
disclosure statement issues.

Worked on drafting executive summary of
legal analysis memo re property of estate.
Exchange emails with R. Tuliano, S. Darr,
D. Baddley re disclosure statement/plan.
Correspondence with S. Smith re:
background facts re property of estate.
Conference call with S. Smith re:
background facts re property of estate.
Review MFIM's fee application for
background facts on services performed re
property of estate.

Worked on revisions to executive summary
and legal memo re prepaid interest re:
comments from N. Peterman and based on
additonal information from S. Smith.
Revise memo re prepaid interest/fee issues.
Phone call with S. Darr re: issues raised in
prepaid interest analysis memo.

Worked on revisions to disclosure
statement to deal with Excess Funds and
Withheld Fund (property of the estate
issue) and MFIM services.

Additional work on revisions to disclosure
statement.

Total Hours:

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Page 4
1.80 774.00
2.10 903.00
1.30 292.50
1.00 225.00
0.70 301.00
6.20 2,666.00
2.30 517.50
5.60 2,408.00
0.40 218.00
3.80 1,634.00
0.40 218.00
0.40 172.00
1.10 473.00
0.80 344.00
1.90 817.00
1.70 926.50
0.30 129.00
4.80 2,064.00
3.60 1,548.00
64.80
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Matter No.: 083230.012700

Description of Professional Services Rendered

Total Amount: $ 25,490.00
TIMEKEEPER SUMMARY FOR ACTION CODE 812
PLAN & DISCLOSURE STATEMENT

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 3.70 545.00 2,016.50
David W. Baddley 47.70 430.00 20,511.00
Ethan F. Ostrow 12.20 225.00 2,745.00
Kerry E. Carlson 0.50 190.00 95.00
Yolanda Powell 0.70 175.00 122.50

Totals: 64.80 393.36 $ 25,490.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868792
083230.012700

Description of Professional Services Rendered

ACTION CODE: 813
DATE TIMEKEEPER
10/02/06 Nancy A. Peterman

10/03/06

10/03/06

10/05/06

10/06/06

10/09/06

10/09/06

10/09/06

10/13/06

10/14/06

10/15/06

10/17/06

10/17/06

10/18/06

10/18/06

Nancy A. Peterman

Collin B. Williams

Nancy A. Peterman

Nancy A. Peterman

David W. Baddley

Nancy A. Peterman

Nancy A. Peterman

Nancy A. Peterman
Nancy A. Peterman
Nancy A. Peterman

Nancy A. Peterman

George R. Warner

David W. Baddley

Kerry E. Carlson

FEE/EMPLOYMENT APPLICATIONS

DESCRIPTION

Telephone conference with J. Nugent re
affidavit (.1); exchange emails with S. Darr
re same (.1).

Draft fee order (.5); prepare email to client
re same (.2).

Draft Fee Order for compensation of fees
and expenses for Thomas J. Allison and
Mesirow Financial Interim Management.
Telephone conference with A. Jarvis re fee
order, retention issues (.3); telephone
conference with A. Jarvis re fee order,
retention issues (.5).

Telephone conference with J. Atkinson re
fee issues (.2); exchange emails with A.
Jarvis re same (.3); telephone call to A.
Jarvis re same (.5).

Prepare for (review orders) (.4); attend
teleconferences re: resolution of fee and
allocation issues (1.0).

Telephone conference with client re fee
issues (1.0); telephone conference with
committees re same (1.0).

Telephone conference with client re fee
issues (1.0); telephone conference with
committees re same (1.0).

Revise fee order (.6); review re-drafted fee
orders for debtor professionals (.4).
Telephone conference with J. Atkinson re
retention and fee issues.

Review retention order (.2); review fee
allocation (.2); revise fee order (.5).
Telephone conference with R. Tuliano and
C. Winford re fee issues (.5); follow-up
with K. Shapiro re same (.4); telephone
conference with R. Warner and D. Baddley
re same issues (.5); telephone conference
with S. Darr re same (.5).

Conference with N. Peterman and D.
Badley re fee issues (1.0); review and
comment on factual developments re same
(1.0); reply to emails re same (.3).
Teleconference with N. Peterman, R.
Warner, K. Shapiro and E. Ostrow re:
factual and legal development re fees.
Review all professional applications for
compensation filed in the case to date (1.0);

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Page 6
HOURS AMOUNT
0.20 109.00
0.70 381.50
2.50 712.50
0.80 436.00
1.00 545.00
1.40 602.00
2.00 1,090.00
2.00 1,090.00
1.00 545.00
0.40 218.00
0.90 490.50
1.90 1,035.50
2.30 1,679.00
1.10 473.00
2.30 437.00
